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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

STATE OF FLORIDA,

      Plaintiff,

      v.                                       Case No. 8:21-cv-541

The UNITED STATES OF AMERICA;
ALEJANDRO MAYORKAS, Secretary
of the United States Department of
Homeland Security, in his official
capacity; UNITED STATES
DEPARTMENT OF HOMELAND
SECURITY; TROY MILLER, Acting
Commissioner of U.S. Customs and
Border Protection, in his official capacity;
U.S. CUSTOMS AND BORDER
PROTECTION; TAE JOHNSON,
Acting Director of U.S. Immigration and
Customs Enforcement, in his official
capacity; U.S. IMMIGRATION AND
CUSTOMS ENFORCEMENT; TRACY
RENAUD, Acting Director of U.S.
Citizenship and Immigration Services,
in her official capacity; U.S.
CITIZENSHIP AND IMMIGRATION
SERVICES,

      Defendants.
_________________________________/

         COMPLAINT FOR DECLARATORY RELIEF AND
      PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF
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                              INTRODUCTION

      1.    Within hours of being sworn in, President Joseph R. Biden, Jr.,

and members of his administration violated their oaths of office, flouted

Congressional statutes, failed to protect U.S. citizens and immigrants alike,

and created what will quickly become a public-safety nightmare.

      2.    For over two decades, administrations—both Democrat and

Republican—detained and removed criminal aliens. This concept was so

uncontroversial that the law imposing this non-discretionary requirement, 8

U.S.C. § 1226(c), was enacted in a bipartisan fashion and enforced for the eight

years that Joseph Biden was Vice President.

      3.    President Biden and members of his administration now seek to

shirk their non-discretionary duty to detain and remove criminal aliens and,

in a transparently pretextual fashion, justify that dereliction with the year-old

COVID-19 pandemic. This abdication of duty is resulting and will continue to

result in the release of dangerous drug traffickers, violent offenders, and other

serious criminals into Florida and the nation’s communities to wreak havoc

and victimize anew.

      4.    Under two memoranda, one issued by the Department of

Homeland Security (“DHS”) and one issued by Immigration and Customs

Enforcement (“ICE”), the Biden Administration seeks to post hoc veto much of




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the immigration scheme. (These memos are referred to as the “January 20

Memo” and the “February 18 Memo,” respectively. See Ex. 1; Ex. 2).

        5.    Unless a narrow set of prerequisites are met—such as, in addition

to being in the country illegally, a person being a terrorist or an aggravated

felon whom the Biden Administration additionally divines is a “public-safety”

threat—immigration enforcement no longer exists. This is true even for aliens

who have committed any number of serious crimes that do not qualify as

aggravated felonies. The Biden Administration has even gone so far as to

suspend “an operation that targeted illegal immigrants with sex crime

convictions.”1

        6.    The Biden Administration has also stayed virtually all removals

for 100 days, even for those with final orders of removal from an immigration

judge.

        7.    According to the President’s own press secretary, “[n]obody is

saying that DUIs or assault are acceptable behavior. And those arrested for

such activities should be tried and sentenced as appropriate by local law

enforcement. But we’re talking about prioritization of who is going to be




1 Caitlin McFall, Eighteen state AGs urge Biden to reverse cancellation of ICE operation
targeting sex offenders (Feb. 18, 2021), https://www.foxnews.com/politics/18-state-ags-urge-
biden-to-reverse-decision-to-cancel-ice-operation-targeting-sex-offenders.


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deported from the country.”2 Put simply, the Biden Administration does not

believe that being in the United States in violation of the immigration laws

and committing serious crimes is sufficient reason to remove someone from the

country.

        8.    This unprecedented, flagrant disregard for the public safety of

Americans and Floridians is a radical departure from even Obama-era policy.

See Ex. 4. The Obama Administration would not have even considered giving

aliens who commit domestic violence, burglary, or heroin trafficking a free pass

from immigration consequences. Id. at 4–5. But the Biden Administration is

doing just that. As one federal official put it, “[t]hey’ve abolished ICE without

abolishing ICE.”3

        9.    The    Biden    Administration       cannot     simply    order    federal

immigration officials to ignore the clear commands of Congress. The

congressionally enacted immigration scheme, found in the Immigration and

Nationality Act (“INA”), provides a specific, complex, and comprehensive

framework for federal enforcement of the immigration laws. 8 U.S.C. § 1226(c),


2 The White House, Press Briefing by Press Secretary Jen Psaki (Feb. 8, 2021),
https://www.whitehouse.gov/briefing-room/press-briefings/2021/02/08/press-briefing-by-
press-secretary-jen-psaki-february-8-2021/.
3 Nick Miroff & Maria Sacchetti, New Biden rules for ICE point to fewer arrests and
deportations,    and     a     more     restrained     agency      (Feb.     7,     2021),
https://www.washingtonpost.com/national/new-biden-rules-for-ice-point-to-fewer-arrests-
and-deportations-and-a-more-restrained-agency/2021/02/07/faccb854-68c6-11eb-bf81-
c618c88ed605_story.html.


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in particular, commands federal immigration authorities to arrest all criminal

aliens. And 8 U.S.C. § 1231(a)(1)(A) requires federal officials to remove an alien

within 90 days after issuance of a final order of removal.

      10.   Although the Biden Administration has referred to these unlawful

acts as an “interim policy” while they “conduct a review of policies and

practices,” Ex. 1 at 2, these acts are a codification of the Administration’s long-

term agenda, and they are causing and will cause the State of Florida

immediate and irreparable harm.

      11.   The actions taken through the memos also are not acts of

“prosecutorial discretion” or “enforcement priorities.” They are an outright

abdication of executive responsibility and violate the clear commands of

Congress, which the executive branch has no discretion to ignore.

      12.   The Biden Administration’s actions will allow criminal aliens to be

released into and move freely in the State of Florida, and their resulting crime

will cost the State millions of dollars on law enforcement, incarceration, and

crime victim’s assistance. It will also cause unquantifiable harm to Florida’s

citizenry and will force the State to expend its own law enforcement resources

to pick up the slack. And because Arizona v. United States prevents States from

“engag[ing] in” their own immigration “enforcement activities,” 567 U.S. 387,

410 (2012), the only remedy is for this Court to set aside and preliminarily and

permanently enjoin these unlawful acts.

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                                   PARTIES

      13.    Plaintiff State of Florida is a sovereign State and has the authority

and responsibility to protect the wellbeing of its public fisc and the health,

safety, and welfare of its citizens. Florida “bears many of the consequences of

unlawful immigration.” Arizona, 567 U.S. at 397.

      14.    Defendants are the United States, appointed officials of the United

States government, and United States governmental agencies responsible for

the issuance and implementation of the challenged administrative actions.

      15.    Florida sues Defendant the United States of America under

5 U.S.C. §§ 702–703 and 28 U.S.C. § 1346.

      16.    Defendant Alejandro Mayorkas is the Secretary of DHS. His

predecessor issued the January 20 Memo. Florida sues him in his official

capacity.

      17.    Defendant DHS is implementing the January 20 Memo. DHS

oversees Defendants U.S. Citizenship and Immigration Services (“USCIS”),

U.S. Customs and Border Protection (“CBP”), and ICE.

      18.    Defendant Tae Johnson is the Acting Director of ICE. He received

the January 20 Memo and issued the February 18 Memo. Florida sues him in

his official capacity.

      19.    Defendant Troy Miller is the Acting Commissioner of CBP. He

received the January 20 Memo. Florida sues him in his official capacity.

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        20.   Defendant Tracy Renaud is the Acting Director of USCIS. She

received the January 20 Memo. Florida sues her in her official capacity.

                          JURISDICTION AND VENUE

        21.   The    Court    has    subject    matter     jurisdiction    pursuant     to

28 U.S.C. §§ 1331, 1346, 1361 and 5 U.S.C. §§ 702–703.

        22.   The Court is authorized to award the requested declaratory and

injunctive relief under 5 U.S.C. § 706, 28 U.S.C. § 1361, and 28 U.S.C. §§ 2201–

2202.

        23.   Venue lies in this district pursuant to 28 U.S.C. § 1391(e)(1)

because the State of Florida is a resident of this judicial district and because a

substantial part of the events or omissions giving rise to the claim occurred in

this judicial district—this district includes four of Florida’s five largest cities.

                             FACTUAL BACKGROUND

                         Federal Immigration Enforcement

        24.   “[T]he Immigration and Nationality Act (‘INA’) . . . establishes a

comprehensive scheme for aliens’ exclusion from and admission to the

United States.” Moorhead v. United States, 774 F.2d 936, 941 (9th Cir.

1985).4



4Following the creation of DHS, many of the INA’s references to the “Attorney General” are
now understood to refer to the Secretary of DHS. See La. Forestry Ass’n, Inc. v. Sec’y U.S.
Dep’t of Labor, 745 F.3d 653, 659 (3d Cir. 2014).


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      25.   8 U.S.C. § 1227(a) lays out the “classes of deportable aliens.”

Among others, these classes include any alien who is “[p]resent in violation

of law.” Id. § 1227(a)(1)(B). They also include aliens—even lawfully present

aliens—who commit certain acts, including, for example, several criminal

offenses. Id. § 1227(a)(2).

      26.   Under 8 U.S.C. § 1226(a), DHS “may” arrest and detain an alien

pending removal proceedings. In 1996, however, Congress grew “concerned

that deportable criminal aliens who are not detained continue to engage in

crime.” Demore v. Kim, 538 U.S. 510, 513 (2003). Because of that concern, and

because Congress was “frustrated with the ability of . . . criminal aliens” to

“avoid deportation,” Congress enacted § 1226(c) to ensure that federal

authorities “det[ain] and remov[e] all criminal aliens.” In re Rojas, 23 I. & N.

Dec. 117, 122 (BIA 2001) (en banc) (emphasis in original); accord Preap v.

Nielsen, 139 S. Ct. 954, 960 (2019).

      27.   Through § 1226(c), Congress revoked the discretionary “may”

language in § 1226(a) for criminal aliens, and directed that federal authorities

“shall take into custody any alien” who qualifies as a “criminal alien[] . . . when

the alien is released” from criminal custody. 8 U.S.C. § 1226(c) (emphasis

added).

      28.   Congress enacted § 1226(c) in a bipartisan fashion. And the

legislative history reflects “a consensus” that “there is just no place in

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America for non-U.S. citizens who commit criminal acts here.” S. Rep. No.

104–48, at 6 (1995); see G. Savaresse, When is When?: 8 U.S.C. § 1226(c) & the

Requirements of Mandatory Detention, 82 Fordham L. Rev. 285, 299 (2013).

      29.     Criminal aliens, for purposes of § 1226(c), include aliens who have

committed specified crimes. As most relevant there, it includes aliens who have

committed crimes of moral turpitude, 8 U.S.C. § 1182(a)(2)(A), id.

§ 1227(a)(2)(A)(i);       crimes    involving     controlled   substances,     id.

§ 1182(a)(2)(A), id. § 1227(a)(2)(B); human trafficking, id. § 1182(a)(2)(H);

money       laundering,     id.    § 1182(a)(2)(I);   aggravated   felonies,   id.

§ 1227(a)(2)(A)(iii); and specified firearms offenses, id. § 1227(a)(2)(C).

      30.     When an alien is arrested, either pursuant to DHS’s discretion

under § 1226(a) or, for criminal aliens, as commanded by Congress under

§ 1226(c), the alien is placed in removal proceedings before an immigration

judge. If the alien is not a criminal alien, DHS has discretion to continue

detention pending removal or to release the alien on bond or parole. See 8

U.S.C. § 1226(a)(1)–(2). If the alien is a criminal alien, DHS has no

discretion to release the alien except under limited circumstances not

implicated here. See 8 U.S.C. § 1226(c); Preap, 139 S. Ct. at 960.

      31.     Once an alien’s rights are adjudicated and he is ordered

removed, DHS “shall remove the alien from the United States within a




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period of 90 days” unless specified exceptions are met. See 8 U.S.C.

§ 1231(a)(1)(A).

            State Cooperation with Federal Immigration Enforcement

      32.    For decades, States like Florida have relied on the federal

government’s enforcement of and compliance with the INA in general and

§§ 1226(c) and 1231(a)(1)(A) in particular, especially after the Supreme

Court clarified that States cannot “engage in” their own immigration

“enforcement activities.” Arizona, 567 U.S. at 410.

      33.    Even though Arizona prevents Florida from taking matters into

its own hands, Arizona also recognizes that “States . . . bear[] many of the

consequences of unlawful immigration.” Id. at 397. Nowhere are these

consequences more obvious than when criminal aliens are released back into

Florida’s communities to reoffend rather than being removed from the

country.

      34.    The previous two administrations understood this reality. Under

President Trump, any removable alien convicted of a crime or with pending

criminal charges was a priority. Ex. 3 at 3. And although President Obama

took a different approach to immigration enforcement overall, his

administration agreed with the Trump Administration on the importance of

immigration enforcement against criminals, including aliens who committed

any felony, any “significant misdemeanor,” such as “domestic violence,”

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“sexual abuse or exploitation,” “burglary,” “unlawful possession or use of a

firearm,” “drug distribution or trafficking,” and “driving under the

influence,” and aliens who were repeat offenders of even minor

misdemeanors. Ex. 4 at 4–5.

       35.    Relying on these consistent efforts by the federal government to

remove criminal aliens from Florida, and to do everything possible to ensure

their efficacy, Florida passed Senate Bill 168 in 2019. It is codified in

Chapter 908 of the Florida Statutes and requires all state and local officials

to inform the federal government when they will release aliens from criminal

custody, § 908.105, Fla. Stat.; id. § 908.102(6)(b); id. § 908.103, and even to

detain those aliens pursuant to an immigration warrant if federal officials

cannot arrive in time. § 908.105, Fla. Stat.; id. § 908.102(6)(a); id. § 908.103.

       36.    Florida’s sheriffs have also made significant efforts to facilitate

cooperation with ICE, including 47 sheriffs’ offices entering formal

cooperation agreements. The Florida Department of Corrections has also

entered into such an agreement.

       37.    Florida has good reasons for seeking to assist the federal

government. In fiscal year 2020, which ended September 2020, ICE’s Miami

Office—its main office in Florida—removed 7,046 aliens.5 Of those, 3,476 were


5U.S. Immigration and Customs Enforcement, Removals by Field Office (Area of
Responsibility) and Month (FY2020), https://www.ice.gov/doclib/news/library/reports/annual-
report/ero-fy20-localstatistics.pdf. This was down from 9,750 the previous year, likely due to

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convicted criminals and 1,356 had pending criminal charges. In other words,

69% of these individuals, in addition to violating civil immigration laws, were

caught engaging in criminal activity.

       38.    Moreover, according to the federal government’s own study of the

recidivism rates of state prisoners, “68% of released prisoners [are] arrested

[again] within 3 years, 79% within 6 years, and 83% within 9 years.”6 Further,

because prisoners are often arrested numerous times after being released, the

study found an average of five arrests per prisoner within the 9 years following

release from state prison. Because of these high recidivism rates, the failure to

remove criminal aliens necessarily results in additional crimes in Florida,

victimizing Florida’s citizenry and costing the State public funds and essential

law enforcement resources.

                        The Biden Administration’s Actions

       39.    On January 20, 2021, the day he took office, President Biden

issued Executive Order 13993, Revisions of Civil Immigration Enforcement

Policies and Priorities, 86 Fed. Reg. 7051 (Jan 20, 2021). That same day,

DHS issued its stand down order. Ex. 1.



COVID. See U.S. Immigration and Customs Enforcement, Removals by Field Office (Area
of Responsibility) and Month (FY2019),
https://www.ice.gov/sites/default/files/documents/Report/2019/ero-fy19-localstatistics.pdf.
6U.S. Department of Justice, National Institute of Justice, Measuring Recidivism (Feb. 20,
2018), https://nij.ojp.gov/topics/articles/measuring-recidivism#statistics.


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         40.     The January 20 Memo does three things. First, it requires review

of the federal government’s existing immigration policies. Ex. 1 at 3.

         41.     Second, under the guise of “interim enforcement priorities,” the

January 20 Memo orders DHS, effective February 1, to cease virtually all

civil immigration enforcement except for removable aliens who came to the

United States on or after November 1, 2020. As to the removable aliens who

are already here, they get a free pass unless they are a terrorist, a spy, or

an aggravated felon whom DHS separately determines to be a public-safety

threat. Ex. 1 at 3–4.

         42.     Third, the memo orders “an immediate pause on removals of any

noncitizen with a final order of removal . . . for 100 days,” subject to narrow

exceptions. Ex. 1 at 4–5.

         43.     On January 26, 2021, a district court in the Southern District of

Texas entered a nationwide temporary restraining order against the 100-

day stay of removals, and on February 23, the court converted its order into

a preliminary injunction. Texas v. United States, 2021 WL 723856, at *4, *53

(S.D. Tex. 2021).7




7   The “interim enforcement priorities” are not at issue in the Texas litigation.


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      44.   On February 18, ICE issued another stand down order.8 Ex. 2.

The February 18 Memo largely reiterates the “interim enforcement

priorities.” It clarifies that DHS “anticipates” issuing new guidelines after

90 additional days, but that the January 20 and February 18 Memos are the

authoritative, operative documents governing immigration enforcement

unless DHS says otherwise. Ex. 2 at 2.

      45.   The February 18 Memo also purports not to prohibit civil

immigration enforcement actions against those who fall outside the

“enforcement priorities,” but it makes clear that, to do so, an ICE officer

must submit a justification in writing and receive approval from the Field

Office Director or Special Agent in Charge. Ex. 2 at 4, 6–7.

      46.   The February 18 Memo, with the permission of DHS, also

modifies the “interim enforcement priorities” in one significant way. Ex. 2

at 2. It adds to the priority list removable aliens who are gang members, but

only if ICE can prove that these gang members are furthering the illegal

activity of the gang and separately determines them to be a public-safety

threat. Ex. 2 at 5–6.




8 Because the 100-day stay of removals is enjoined nationwide, the February 18 Memo
addresses only the “interim enforcement priorities.” Ex. 2 at 3.


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      47.   Both the January 20 and February 18 Memos try to justify these

actions based on “limited resources” and the COVID-19 pandemic. Ex. 1 at

2–3; Ex. 2 at 3.

                       Irreparable Harm to Florida

      48.   The agency action within the memos is irreparably harming

Florida and will continue to do so.

      49.   As a result of the memos, ICE is refusing to take custody of scores

of criminal aliens across the State—resulting in their release into Florida—

and it will only get worse. The Florida Department of Corrections already

reports seven instances of ICE refusing to take custody of serious criminals

upon release from state custody. See Ex. 5; Ex. 6. According to emails from

ICE to state officials, ICE is refusing to take custody of these aliens because

they “do[] not meet the current interim civil immigration enforcement

priorities issued on January 20, 2021.” Ex. 5 at 6.

      50.   The criminal activity of these seven aliens is disturbing. Several

of them have multiple burglary convictions, Ex. 6 at 3, 6, 9, 12, including

one who appears to have gone on a burglary spree, Ex. 6 at 9. A number also

have serious drug convictions, including for cocaine and heroin trafficking.

Ex. 6, at 6, 11–18.

      51.   These dangerous individuals apparently do not rise to the level

of being a public-safety threat for the Biden Administration. They—and

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other criminals like them—will be released back into Florida absent this

Court’s intervention. Some already have been.

         52.     And this only captures a small fraction of what is happening and

will happen in Florida. Much of the State’s cooperation with ICE goes on in

local jails rather than state prisons. In Pasco County alone—just 1 of

Florida’s 67 counties—ICE has already canceled detainers9 for several aliens

whose crimes include domestic violence and violating a restraining order.

         53.     Even extrapolating Pasco County’s experience over Florida’s

other 66 counties would not fully capture the effect of the memos in Florida.

The memos apply equally to federal inmates, and the federal inmate

population in Florida is another 8,801 criminals, around 21% of which are

aliens.

         54.     Moreover, almost 30% of ICE’s civil immigration arrests—at

least in fiscal year 2017—were at-large arrests. As a result of the memos,

criminal aliens who have already been released and are currently at-large

in Florida will not be arrested and detained by ICE, including, for example,




9   Detainers are ICE’s request to be notified before an alien is released from criminal custody.


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the aliens “with sex crime convictions” who were the target of an

enforcement operation that the Biden Administration recently canceled.10

       55.    And the 100-day-removal pause will further contribute to the

release of criminal aliens into Florida’s communities. See Texas, 2021 WL

723856, at *15. In fiscal year 2020, which ended September 2020, ICE’s Miami

office removed 7,046 aliens.11 Of those, 3,476 were convicted criminals and

1,356 had pending criminal charges.

       56.    And, because of the law surrounding alien detention, the longer

an alien is detained following a final order of removal, and the less certain

his prospects of actual removal, the more likely it is that ICE will release

him. See, e.g., Texas, 2021 WL 723856, at *45 (discussing Zadvydas v. Davis,

533 U.S. 678, 683–84, 701 (2001)).

       57.    An increase in criminal aliens in Florida will cause a wide

variety of harms.

       58.    First, given the high recidivism rates among those released from

state prison, see ¶ 38, it is a statistical certainty that the scores of criminal

aliens released into Florida will commit additional crimes in Florida. In fact,


10Caitlin McFall, Eighteen state AGs urge Biden to reverse cancellation of ICE operation
targeting sex offenders (Feb. 18, 2021), https://www.foxnews.com/politics/18-state-ags-urge-
biden-to-reverse-decision-to-cancel-ice-operation-targeting-sex-offenders.
11 U.S. Immigration and Customs Enforcement, Removals by Field Office (Area of
Responsibility) and Month (FY2020), https://www.ice.gov/doclib/news/library/reports/annual-
report/ero-fy20-localstatistics.pdf.


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even just taking the seven aliens discussed above, a number of them had

committed crimes before and been incarcerated in Florida’s prison system.

Ex. 6 at 6, 12.

      59.   Second, Florida is spending approximately $120 million a year

incarcerating aliens at the state level alone. When criminal aliens released

back into Florida reoffend, they will be reincarcerated by Florida, resulting

in an increase in those costs.

      60.   Third, the criminal activity of these aliens will drain the State’s

law enforcement resources, which will cost the State millions of dollars and,

just as importantly, pull resources away from other public-safety threats.

      61.   Fourth, in addition to law enforcement costs, Florida spends

additional resources on those engaged in criminal activity, including, for

example, substance abuse and mental health services. For current patients

who lack lawful immigration status, alone, the Department of Children and

Families (“DCF”) has spent over $32 million on those services. And there

may be some patients who lack lawful immigration status that DCF is not

aware of.

      62.   Fifth, the criminal activity of these aliens will cost the State

money and resources to care for the victims. The Attorney General’s Office,

for example, spent almost $3.6 million last year on domestic violence

relocation services. And DCF spends tens of millions of dollars, if not more,

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on domestic-violence and child-welfare services for crime victims, including

those who lack lawful immigration status.

      63.    Florida now seeks relief from this Court.

                                     CLAIMS

                                    COUNT 1

                  Agency action that is not in accordance
                   with law and is in excess of authority

      64.    Florida repeats and incorporates by reference ¶¶ 1–63.

      65.    Under the Administrative Procedure Act (“APA”), a court must

“hold unlawful and set aside agency action” that is “not in accordance with law”

or “in excess of statutory . . . authority, or limitations, or short of statutory

right.” See 5 U.S.C. § 706(2)(A), (C).

      66.    The January 20 and February 18 Memos violate 8 U.S.C.

§§ 1226(c) and 1231(a)(1)(A).

      67.    Congress added § 1226(c) to “subtract some of th[e] discretion”

DHS possessed under § 1226(a)—specifically, the discretion not to

“arrest . . . criminal aliens.” Preap, 139 S. Ct. 966 (emphasis in original); see id.

(“The Secretary must arrest those aliens guilty of a predicate offense.”

(emphasis in original)).

      68.    The January 20 and February 18 Memos ignore this command in

at least two ways. First, they limit DHS’s and ICE’s enforcement to terrorists,


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spies, aggravated felons, and certain gang members. Ex. 1 at 3; Ex. 2 at 5–6.

But § 1226(c)’s commands apply to aliens who commit many other crimes,

including crimes of moral turpitude, 8 U.S.C. § 1182(a)(2)(A), id.

§ 1227(a)(2)(A)(i);    crimes     involving   controlled   substances,    id.

§ 1182(a)(2)(A), id. § 1227(a)(2)(B); human trafficking, id. § 1182(a)(2)(H);

money laundering, id. § 1182(a)(2)(I); and specified firearms offenses, id.

§ 1227(a)(2)(C). The memos ignore these requirements. Second, even for

aggravated felons and specified gang members, the memos require a

separate public-safety analysis, which contradicts the mandatory nature of

§ 1226(c). Ex. 1 at 3; Ex. 2 at 5–6.

      69.   In purporting to exercise discretion that does not exist, and in

ignoring the clear statutory requirements of § 1226(c), the Defendants have

violated the APA.

      70.   The same is true with respect to § 1231(a)(1)(A). “[T]he text,

context, statutory history, and precedent” show that § 1231(a)(1)(A)

“unambiguously means” that the Government “must remove” aliens with final

orders of removal within 90 days of those orders. Texas, 2021 WL 723856, at

*36, 38 (emphasis in original). In requiring a 100-day stay of removals, the

agencies have violated the APA.




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      71.   Because these acts are required by law, they are not discretionary.

Therefore, the illegal actions contemplated by the memos are not committed to

agency discretion by law.

      72.   Finally, the memos are final agency action because they “mark the

consummation of the agencies’ decisionmaking process”—they are not “merely

tentative or interlocutory.” U.S. Army Corps of Eng’rs v. Hawkes Co., 136 S.

Ct. 1807, 1813 (2016). And they determine “rights or obligations . . . from which

legal consequences will flow.” Id.

      73.   As discussed above, the memos are already having irreversible and

significant consequences for Florida. And one court has already held that the

January 20 Memo’s 100-day stay of removals is final agency action. Texas,

2021 WL 723856 at *32. The “enforcement priorities” are for the same reasons.

                                     COUNT 2

                 Arbitrary and capricious agency action

      74.   Florida repeats and incorporates by reference ¶¶ 1–63, 71–73.

      75.   Under the APA, a court must “hold unlawful and set aside agency

action” that is “arbitrary [or] capricious.” 5 U.S.C. § 706(2)(A).

      76.   The agencies failed to provide adequate reasoning behind the

factors they purported to consider, Encino Motorcars, LLC v. Navarro, 136 S.

Ct. 2117, 2125 (2016), pointed to pretextual reasons, Dep’t of Commerce v. New

York, 139 S. Ct. 2551, 2573–74 (2019), ignored important aspects of the

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problem, Michigan v. EPA, 576 U.S. 743, 751–53, 759–60 (2015), and failed to

justify their departing from the decades-old policy to enforce immigration laws

against criminal aliens by considering lesser alternatives and reliance

interests, DHS v. Regents of the U. of Cal., 140 S. Ct. 1891, 1913 (2020); FCC

v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

      77.   First, DHS and ICE “point[ed] . . . to [no] data,” Nat’l Treasury

Emps. Union v. Horner, 854 F.2d 490, 499 (D.C. Cir. 1988), to “explain why”

they took the actions in the memos, Motor Vehicle Mfrs. Ass’n, v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 48 (1983). The agencies asserted that limited

resources and COVID-19 justified their actions. But they provided no evidence

to support this argument, particularly evidence as to why the myriad other

laws the federal government enforces can continue but the vast majority of

immigration enforcement must cease. See Tripoli Rocketry Ass’n, v. ATF, 437

F.3d 75, 77 (D.C. Cir. 2006) (vacating agency action because the agency offered

no supporting evidence).

      78.   Second, and relatedly, the reasons DHS and ICE did provide were

pretextual. See Commerce, 139 S. Ct. at 2573–74. As the Biden Administration




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has admitted, the reason for the memos is that the Biden Administration does

not want to enforce the immigration laws, not that it can’t.12

      79.    Third, DHS and ICE ignored an important aspect of the problem:

the massive costs imposed by its actions, including on States like Florida. Costs

are “a centrally relevant factor when deciding whether to regulate.” Michigan,

576 U.S. at 752–53. The memos do not mention costs at all.

      80.    Fourth, DHS and ICE failed to explain their “extreme departure

from prior practice,” E. Bay Sanctuary Covenant v. Trump, 349 F. Supp. 3d

838, 858 (N.D. Cal. 2018), as required by the APA, Regents, 140 S. Ct. at 1913.

The memos combine for twelve pages of conclusory assertions such that DHS

barely even “display[s] awareness that it is changing position.” Fox Television,

556 U.S. at 515 (emphasis in original).

      81.    And the agencies ignored lesser alternatives to their extreme

departure that would still fall within the “ambit” of the Obama and Trump

Administrations’ approach. See Ex. 3; Ex. 4.

      82.    DHS and ICE also ignored the reliance interests of States like

Florida. Florida has relied on the federal government for decades to protect it

from criminal-alien crime, including enacting an entire statutory scheme in



12 See The White House, Press Briefing by Press Secretary Jen Psaki (Feb. 8, 2021),
https://www.whitehouse.gov/briefing-room/press-briefings/2021/02/08/press-briefing-by-
press-secretary-jen-psaki-february-8-2021/.


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support of the federal government’s practices, see Ch. 908, Fla. Stat., and

entering into dozens of agreements with the federal government.

      83.   “Ignor[ing]” these reliance interests and failing to consider lesser

alternatives is “arbitrary and capricious.” Regents, 140 S. Ct. at 1913.

      84.   The agencies’ actions in the memos are, therefore, arbitrary and

capricious and should be set aside. 5 U.S.C. § 706.

                                  COUNT 3

                 Failure to provide notice and comment

      85.   Florida repeats and incorporates by reference ¶¶ 1–63, 71–73.

      86.   The APA required DHS and ICE to provide notice of, and comment

on, the memos because they are substantive rules that “affect individual rights

and obligations.” Chrysler Corp. v. Brown, 441 U.S. 281, 303 (1979); see 5

U.S.C. § 553. One court has already held that the 100-day pause on removals

required notice and comment, Texas, 2021 WL 723856, at *43–48, and the

“enforcement priorities” do for the same reasons.

      87.   Further, the Eleventh Circuit has held that federal immigration

officials must engage in rulemaking when changing a policy to detain more

aliens. Jean v. Nelson, 711 F.2d 1455, 1469, 1476, 1478 (11th Cir. 1983).

Changing a decades-old policy to detain less aliens (or to remove less aliens)—

especially when doing so violates clear statutory commands—is no different.




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                                   COUNT 4

                        Violation of 8 U.S.C. § 1226(c)

      88.   Florida repeats and incorporates by reference ¶¶ 1–63, 66–68.

      89.   DHS and ICE have violated 8 U.S.C. § 1226(c) by ignoring its

command to detain criminal aliens.

      90.   For the reasons described in Count 1, even putting the APA aside,

DHS’s and ICE’s straightforward violations of federal law must be enjoined.

                                   COUNT 5

                     Violation of 8 U.S.C. § 1231(a)(1)(A)

      91.   Florida repeats and incorporates by reference ¶¶ 1–63, 66, 70.

      92.   DHS and ICE have violated 8 U.S.C. § 1231(a)(1) by refusing for

100 days to remove aliens with final orders of removal.

      93.   For the reasons described in Count 1, even putting the APA aside,

DHS’s and ICE’s straightforward violations of federal law must be enjoined.

                                   COUNT 6

                      Violation of the take care clause

      94.   Florida repeats and incorporates by reference ¶¶ 1–63, 66–70.

      95.   The executive branch is tasked with “tak[ing] Care that the Laws

be faithfully executed.” U.S. Const. art. II, § 3. This requirement applies to the

Defendants. See U.S. Const. art. II, § 1, cl. 1 (vesting “[t]he executive Power”

in the President).

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      96.    The memos violate this requirement because they order DHS and

ICE not to enforce federal law.

      97.    The memos therefore are unconstitutional and should be enjoined

under the APA, 5 U.S.C. §706, or independent of the APA under the take-care

clause itself.

                                      Count 7

                   Violation of the separation of powers

      98.    Florida repeats and incorporates by reference ¶¶ 1–63, 66–70.

      99.    Where,   as     here,   the   executive   branch   “takes   measures

incompatible with the expressed or implied will of Congress, [its] power is at

its lowest ebb.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637

(Jackson, J., concurring).

      100. Executive discretion over immigration is not inherent. Rather,

authority over immigration belongs to Congress, see U.S. Const. Art. I, § 8, and

the executive branch’s discretion flows from “the vague and sweeping language

employed by Congress.” Jean v. Nelson, 727 F.2d 957, 967 (11th Cir. 1984).

Therefore, where Congress instead uses specific, mandatory language, this

broad discretion does not exist. See id. (“[E]xecutive officials function as agents

of Congress in enforcing the law.”).

      101. The memos therefore are ultra vires and unconstitutional.




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                         PRAYER FOR RELIEF

     For these reasons, Florida asks the Court to:

      a) Hold unlawful and set aside the January 20 Memo.

      b) Hold unlawful and set aside the February 18 Memo.

      c) Issue preliminary and permanent injunctive relief enjoining

         Defendants from enforcing the January 20 Memo.

      d) Issue preliminary and permanent injunctive relief enjoining

         Defendants from enforcing the February 18 Memo.

      e) Issue declaratory relief declaring the January 20 Memo ultra vires

         and unconstitutional.

      f) Issue declaratory relief declaring the February 18 Memo ultra vires

         and unconstitutional.

      g) Postpone the effective date of the January 20 Memo.

      h) Postpone the effective date of the February 18 Memo.

      i) Award Florida costs and reasonable attorney’s fees.

      j) Award such other relief as the Court deems equitable and just.




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